Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 1 of 18 PageID: 1
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 2 of 18 PageID: 2
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 3 of 18 PageID: 3
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 4 of 18 PageID: 4
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 5 of 18 PageID: 5
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 6 of 18 PageID: 6
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 7 of 18 PageID: 7
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 8 of 18 PageID: 8
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 9 of 18 PageID: 9
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 10 of 18 PageID: 10
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 11 of 18 PageID: 11
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 12 of 18 PageID: 12
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 13 of 18 PageID: 13
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 14 of 18 PageID: 14
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 15 of 18 PageID: 15
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 16 of 18 PageID: 16
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 17 of 18 PageID: 17
Case 3:10-cv-01138-PGS-LHG Document 1 Filed 03/04/10 Page 18 of 18 PageID: 18
